                                                                                                                O'Melveny
O’Melveny & Myers LLP                 T: +1 310 553 6700
1999 Avenue of the Stars              F: +1 310 246 6779
8ᵗʰ Floor                             omm.com
Los Angeles, CA 90067-6035




                                                                                                                 Daniel M. Petrocelli
June 6, 2022                                                                                                     D: +1 310 246 6850
                                                                                                                 dpetrocelli@omm.com
VIA ECF

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re:       United States v. Thomas J. Barrack
          Criminal Docket No. 1:21-CR-371-2 (BMC)

Dear Judge Cogan:

On behalf of Defendant Thomas J. Barrack, Jr., we write regarding the June 6, 2022 motion
made by Defendant Matthew Grimes seeking severance of his trial from Mr. Barrack’s trial
(“the Motion”). Mr. Barrack joins in the Motion and respectfully requests that the Court grant
the relief requested.


Respectfully submitted,


/s/ Daniel M. Petrocelli

Daniel M. Petrocelli
Partner
of O’MELVENY & MYERS LLP




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